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 1                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     THERESA SWEET, et al.,
 5
                     Plaintiffs,                 No. 3:19-cv-03674-WHA
 6
           v.
 7
     MIGUEL CARDONA, in his official capacity    SETTLEMENT AGREEMENT
 8
     as Secretary of Education, and the UNITED
 9   STATES DEPARTMENT OF EDUCATION

10
11                   Defendants.

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 1   I.        INTRODUCTION
 2             WHEREAS, in this class action the Plaintiffs assert that the U.S. Department of Education
 3   (“Department”) has (i) unreasonably delayed and unlawfully withheld decisions on pending
 4   “borrower defense” claims, i.e., claims for relief from certain federal student loan obligations
 5   based on institutional misconduct; (ii) issued unlawful notices denying certain borrower defense
 6   claims; and (iii) adopted unlawful policies governing the process of evaluating borrower defense
 7   claims;
 8             WHEREAS, Defendants, the Department and its Secretary, Miguel Cardona, in his official
 9   capacity, deny any wrongdoing and deny that Plaintiffs are entitled to the relief they have sought
10   in this Action;
11             WHEREAS, Defendants and Plaintiffs (referred to herein collectively, where appropriate,
12   as “the Parties”) now mutually desire to avoid the delay, uncertainty, inconvenience and expense
13   of protracted litigation, and have determined to settle this Action, including all claims that
14   Plaintiffs, the certified Class (as defined below), and the members of that Class have brought in
15   this case;
16             NOW, THEREFORE, in reliance upon the representations, mutual promises, covenants,
17   releases, and obligations set forth in this Settlement Agreement, and for good and valuable
18   consideration, the Parties hereby stipulate and agree to compromise, settle, and resolve this case
19   on the following terms and conditions.
20   II.       DEFINITIONS
21             Unless otherwise noted, the following definitions apply in this Settlement Agreement, and
22   for purposes of this Settlement Agreement alone.
23             A.      Action means the litigation styled Sweet, et al. v. Cardona, et al., No. 3:19-cv-
24                     3674-WHA (N.D. Cal.).
25             B.      Agreement means this Settlement Agreement, including any attached exhibits.
26             C.      Borrower defense application means a request by a Direct Loan or Federal Family
27                     Education Loan Program borrower for relief from his or her repayment obligations
28                     with respect to those loans based on the alleged misconduct of the borrower’s


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 1         school. A borrower’s application can include multiple claims of alleged misconduct
 2         on behalf of his or her school.
 3   D.    Borrower defense claim means an allegation made for relief from a borrower’s
 4         repayment obligations in a borrower defense application.
 5   E.    Class or Class Members are the members of the class that has been certified by
 6         this Court and refers to individuals who meet the criteria set forth in Section II
 7         below. When used in this Agreement, the terms Class and Class Members refer,
 8         individually and collectively, to the Plaintiffs, the Class, and each Member of the
 9         Class.
10   F.    Class Counsel or Plaintiffs’ Counsel refers to Plaintiffs’ attorneys of record in this
11         Action.
12   G.    Class Notice means the document attached hereto as Exhibit A, which shall be
13         distributed pursuant to subsection X.B, below.
14   H.    Court means the U.S. District Court for the Northern District of California.
15   I.    Department refers to the U.S. Department of Education.
16   J.    Direct Loan means and refers to a loan made pursuant to the William D. Ford
17         Federal Direct Loan Program, 20 U.S.C. § 1087a et seq.
18   K.    Effective Date means the date upon which, if this Agreement has not been voided
19         under Section XIII, the Final Judgment approving this Agreement, entered by the
20         Court in the form attached hereto as Exhibit B, becomes non-appealable, or, in the
21         event of an appeal by a Class Member based upon a timely filed objection to this
22         Agreement, upon the date of final resolution of said appeal. When this Agreement
23         refers to the date on which the Agreement became “Effective,” such date is the
24         Effective Date.
25   L.    Execution Date means the date upon which all Parties to this Agreement, and/or
26         their counsel of record, have signed the Agreement.
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 1   M.    Fairness Hearing means a hearing held by the Court at which time the Court will
 2         determine whether this Agreement should be approved under Federal Rule of Civil
 3         Procedure 23(e).
 4   N.    Final Approval Date refers to the date on which the Court enters Final Judgment
 5         approving this Agreement in the form attached hereto as Exhibit B.
 6   O.    Final Decision refers to a decision by the Department either approving or denying
 7         settlement relief to a borrower under the terms of this Agreement.
 8   P.    FFEL means and refers to a loan made pursuant to the Federal Family Education
 9         Loan Program, 20 U.S.C. §§ 1071-1087-4.
10   Q.    Form Denial Notice refers to a notice sent by the Department to a Class Member,
11         in substantially the form of one of the documents submitted by Defendants to the
12         Court in this Action at ECF Nos. 116-1, 116-2, 116-3, and 116-4.
13   R.    FSA is the Department’s Federal Student Aid office.
14   S.    Full Settlement Relief means (i) discharge of all of a Class Member’s Relevant
15         Loan Debt, (ii) a refund of all amounts the Class Member previously paid to the
16         Department toward any Relevant Loan Debt (including, but not limited to, Relevant
17         Loan Debt that was fully paid off at the time that borrower defense relief is granted),
18         and (iii) deletion of the credit tradeline associated with the Relevant Loan Debt.
19   T.    Involuntary Collection Activity means any attempt by the Department or its
20         agents to collect payments toward the Relevant Loan Debt (in whole or in part), as
21         defined below, through involuntary means from a borrower in default, including
22         but not limited to certifying the borrower’s debts for collection through the
23         Treasury Offset Program and/or administrative wage garnishment. Any activity by
24         the Department or its agents that reduces the borrower’s Relevant Loan Debt
25         without any action by the borrower or which eliminates a default on the loan
26         without action by the borrower is not an Involuntary Collection Activity.
27   U.    Plaintiffs, for purposes of Section V, includes Post-Class Applicants as the term is
28         defined in Section IV.D.


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 1          V.      Preliminary Approval Date refers to the date on which the Court enters a
 2                  preliminary approval order, as set forth in subsection X.A.
 3          W.      Relevant Loan Debt refers to Direct Loans or FFEL loans associated with the
 4                  school that is the subject of the Class Member’s borrower defense application. That
 5                  debt includes the original principal of the affected federal student loan plus any and
 6                  all interest and fees that accrued or were incurred on that loan.
 7          X.      School Group refers to the name of a multi-institution organization based on
 8                  ownership data and/or multi-campus institution as defined in FSA’s Postsecondary
 9                  Education Participants System (“PEPS”), to the extent that data is included in the
10                  borrower defense review platform.
11          Y.      Written Notice is provided when the Department sends an email to the relevant
12                  individual’s email address or, where the Department does not have such an email
13                  address available or becomes aware that email is undeliverable to the email address
14                  on file, the Department sends a copy of the relevant communication to the
15                  individual’s last known mailing address.
16   III.   CLASS
17          A.      Pursuant to Federal Rule of Civil Procedure 23(b)(2), the Court has certified a
18                  plaintiff class consisting of all people who borrowed a Direct Loan or FFEL loan
19                  to pay for a program of higher education, who have asserted a borrower defense to
20                  repayment to the Department, whose borrower defense has not been granted or
21                  denied on the merits, and who is not a class member in Calvillo Manriquez v.
22                  DeVos, No. 3:17-cv-7210 (N.D. Cal.). See ECF No. 46 (Oct. 30, 2019). In this
23                  Agreement, individuals who meet this class definition as of the date of class closure
24                  are referred to as “the Class” or “Class Members.”
25          B.      For the purposes of this Agreement, the Parties agree that the Class includes
26                  individuals who are members of the Plaintiffs’ proposed “§ 555(e) Subclass,”
27                  which the Parties agree includes all members of the class certified in this case on
28                  October 30, 2019 (ECF No. 46) whose borrower defense applications were denied


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 1                 between the date of class certification and the Execution Date. See Pls.’ Suppl.
 2                 Compl., ECF No. 198 ¶ 430 (May 4, 2021).
 3          C.     As of the Effective Date, all Class Members are bound by the terms of this
 4                 Agreement.
 5          D.     The Class is closed as of the Execution Date.
 6   IV.    DEFENDANTS’ CONSIDERATION
 7          In consideration for the promises of Plaintiffs set forth in this Agreement, Defendants agree
 8   as follows:
 9          A.     Relief for applications meeting certain school criteria.
10                 1.      No later than one year after the Effective Date, Defendants will effectuate
11                         Full Settlement Relief for each and every Class Member whose Relevant
12                         Loan Debt is associated with the schools, programs, and School Groups
13                         listed in Exhibit C hereto. If any such Class Member receiving relief under
14                         this Paragraph IV.A previously received a Form Denial Notice, the
15                         provision of Full Settlement Relief will be deemed to rescind that Form
16                         Denial Notice.
17                 2.      Class Members shall be eligible for this form of relief regardless of whether
18                         the Class Member is a member of the § 555(e) Subclass.
19                 3.      Defendants shall provide Written Notice of this relief to each qualifying
20                         Class Member no later than 90 calendar days after the Effective Date. The
21                         notice shall specify that the Class Member will receive Full Settlement
22                         Relief, as defined in this Agreement, and need not take any additional action
23                         to receive this relief. The notice shall also specify that the Class Member’s
24                         Relevant Loan Debt will remain in forbearance or stopped collection status
25                         pending the effectuation of relief. If the notice is sent by email and it
26                         bounces back, Defendants will have an additional 90 calendar days to send
27                         the notice by first class mail to the last known mailing address.
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 1         4.     The Parties acknowledge that some Class Members may be eligible for
 2                discharges of their loans, outside of this Agreement, based on the
 3                misconduct of schools they attended, and that nothing in this Agreement
 4                shall prevent the Department from effectuating such relief outside this
 5                Agreement. The Department agrees, however, that any such Class Members
 6                who are deemed eligible for such relief outside this Agreement shall receive
 7                Full Settlement Relief pursuant to this Agreement.
 8         5.     If the Department’s borrower defense or loan data includes conflicting
 9                evidence which raises a substantial question as to whether a Class Member’s
10                Relevant Loan Debt is associated with a program, school, or School Group
11                listed in Exhibit C, the question will be resolved in favor of the Class
12                Member (i.e., in favor of granting relief).
13   B.    Rescission of Form Denial Notices.
14         1.     For Class Members who do not receive relief pursuant to Paragraph IV.A,
15                above, but previously received a Form Denial Notice, Defendants, no later
16                than 120 calendar days after the Effective Date, will provide Written Notice
17                to those Class Members that their denials have been rescinded and that their
18                borrower defense applications are again under consideration.
19         2.     For purposes of Paragraph IV.C.3, the Department will deem the
20                applications of Class Members who previously received a Form Denial
21                Notice to have been pending since the original date of submission.
22   C.    Process and timeline for issuing decisions on remaining Class applications.
23         1.     Defendants will apply the following procedures to their review of borrower
24                defense applications submitted by Class Members who did not receive relief
25                pursuant to Paragraph IV.A:
26                 i.    Defendants will review the borrower defense application and any
27                       attachments included by the Class Member to determine whether the
28                       application states a claim that, if presumed to be true, would assert


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 1                        a valid basis for borrower defense relief under the standards in the
 2                        borrower defense regulations published by the Department on
 3                        November 1, 2016 (81 Fed. Reg. 75,926). If it does, Defendants
 4                        will provide that Class Member Full Settlement Relief.
 5               ii.      If a Class Member’s borrower defense application reviewed under
 6                        this Paragraph IV.C alleges a misrepresentation or omission that, if
 7                        presumed to be true, would assert a valid basis for borrower defense
 8                        relief, Defendants will presume that the Class Member reasonably
 9                        relied on that misrepresentation or omission regardless of whether
10                        the Class Member alleges such reliance in his or her application.
11              iii.      No borrower defense application reviewed under this Paragraph
12                        IV.C will be denied on the basis of insufficient evidence.
13              iv.       Defendants will not apply any statute of limitations to borrower
14                        defense applications reviewed under this Paragraph IV.C.
15         2.    Defendants will issue any Class Member whose borrower defense
16               application is reviewed under this Paragraph IV.C a “settlement relief
17               decision,” a “revise and resubmit notice,” or a “denial notice,” as defined
18               below.
19                i.      A “settlement relief decision” notifies a Class Member that his or
20                        her borrower defense application has been approved under the terms
21                        of this Settlement Agreement and that the Class Member will
22                        receive Full Settlement Relief.
23               ii.      A “revise and resubmit notice” notifies a Class Member that his or
24                        her borrower defense application is deficient, provides instructions
25                        on how to revise and resubmit his or her application, and advises the
26                        Class Member that he or she may do so within 6 months of the date
27                        of the notice. The notice will state that if the Class Member does not
28                        submit a revised application within 6 months, the notice itself will


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 1                      serve as Defendants’ final decision of denial and that the Class
 2                      Member has the right to seek review of such decision in federal
 3                      district court.
 4              iii.    A “denial decision” will only be issued to Class Members whose
 5                      applications are denied after having resubmitted their application
 6                      following receipt of a “revise and resubmit notice,” as defined in the
 7                      preceding subparagraph. A denial decision will explain the reasons
 8                      the application was denied and apprise the recipient of his or her
 9                      right to seek review of the decision in federal district court.
10         3.    Defendants will issue decisions to Class Members whose applications are
11               reviewed under this Paragraph IV.C according to the timelines set forth
12               below. For purposes of this subparagraph, a “decision” refers to either a
13               “settlement relief decision” or a “revise and resubmit notice,” as defined in
14               Paragraph IV.C.2.
15                i.    For any application submitted between January 1, 2015 and
16                      December 31, 2017, Defendants will issue a decision no later than 6
17                      months after the Effective Date.
18               ii.    For any application submitted between January 1, 2018 and
19                      December 31, 2018, Defendants will issue a decision no later than
20                      12 months after the Effective Date.
21              iii.    For any application submitted between January 1, 2019 and
22                      December 31, 2019, Defendants will issue a decision no later than
23                      18 months after the Effective Date.
24              iv.     For any application submitted between January 1, 2020 and
25                      December 31, 2020, Defendants will issue a decision no later than
26                      24 months after the Effective Date.
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 1               v.        For any application submitted between January 1, 2021 and the
 2                         Execution Date, Defendants will issue a decision no later than 30
 3                         months after the Effective Date.
 4               vi.       If a Class Member has submitted more than one borrower defense
 5                         application, the earliest submitted application will control for
 6                         purposes of the timelines set forth above.
 7         4.    Defendants will issue a final decision to any Class Member who resubmits
 8               his or her application after receiving a “revise and resubmit notice” no later
 9               than 6 months after Defendants receive the Class Member’s resubmission.
10               For purposes of this subparagraph IV.C.4, a “final decision” refers to either
11               a “settlement relief decision” or a “denial decision” as defined in Paragraph
12               IV.C.2.
13         5.    Class Members shall be eligible for the relief set forth in this Paragraph
14               IV.C regardless of whether the Class Member is a member of the § 555(e)
15               Subclass.
16         6.    The decisions required by this Paragraph IV.C shall be sent by Written
17               Notice, as defined in this Agreement.
18         7.    The Relevant Loan Debt for each Class Member eligible under this section
19               will remain in forbearance or stopped collection status either until he or she
20               receives Full Settlement Relief or until the Department’s decision denying
21               the Class Member’s claim becomes final pursuant to either Paragraph
22               IV.C.2.ii or Paragraph IV.C.2.iii, as applicable. For this period of
23               forbearance or stopped collection status, the Department will remove any
24               interest that accrues on the Relevant Loan Debt.
25         8.    If a Class Member has not received a timely decision required under
26               Paragraphs IV.C.3 and IV.C.4, as applicable, that Class Member shall
27               receive Full Settlement Relief. Defendants shall provide the affected Class
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 1                Member with notice that the Class Member will receive this relief within 60
 2                calendar days following the expiration of the applicable deadline.
 3         9.     Defendants will effectuate relief for any Class Member entitled to
 4                settlement relief pursuant to Paragraphs IV.C.3, IV.C.4, or IV.C.8, as
 5                applicable, no later than one year after the date that Defendants provide that
 6                Class Member Written Notice of the settlement relief decision.
 7    D.   Relief for Certain Post-Class Applicants.
 8         1.     If an individual submits a borrower defense application after the Execution
 9                Date (i.e., the date the class closes), but before the Final Approval Date,
10                such individual is a Post-Class Applicant. Defendants will issue a final
11                decision on the merits of a Post-Class Applicant’s application no later than
12                36 months after the Effective Date.        In making these decisions, the
13                Department will apply the standards in the borrower defense regulations
14                published by the Department on November 1, 2016 (81 Fed. Reg. 75,926).
15         2.     If a Post-Class Applicant has not received a timely decision as required
16                under Paragraph IV.D.1, that applicant shall receive Full Settlement Relief.
17                Defendants shall provide the affected Post-Class Applicant with notice that
18                the applicant will receive this relief within 60 calendar days following the
19                expiration of the applicable deadline.
20         3.     Defendants will effectuate relief for any Post-Class Applicant entitled to
21                settlement relief pursuant to Paragraphs IV.D.1 and IV.D.2 no later than one
22                year after the date that Defendants provide that applicant Written Notice of
23                the settlement relief decision.
24    E.   Class Member informational webpage. The Department will establish a webpage
25         on its studentaid.gov website providing general information about this Agreement
26         and links to copies of the Agreement and related Court documents. The webpage
27         will be available to the public within 30 calendar days after the Preliminary
28         Approval Date and will be updated no later than 30 calendar days after the Effective


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 1         Date to include information about how Class Members can contact the Department
 2         if the Class Member has questions regarding their borrower defense application.
 3    F.   Effectuating relief.
 4         1.     Defendants have effectuated relief for purposes of Paragraphs IV.A, IV.C,
 5                and IV.D when they and their loan servicers have taken all steps necessary
 6                to discharge the Relevant Loan Debt of the Class Member (or Paragraph
 7                IV.D. Post-Class Applicant), including but not limited to (1) discharging
 8                any interest that accrued while the borrower defense application was
 9                pending; (2) determining if the Class Member (or Paragraph IV.D Post-
10                Class Applicant) is entitled to any refund, and if so, issuing refund check(s)
11                for payment of that refund; (3) if the Class Member’s (or Paragraph IV.D
12                Post-Class Applicant’s) Relevant Loan Debt was previously in default,
13                removing such debt from default status; and (4) requesting the deletion of
14                the relevant tradeline.
15         2.     Class Members (or Paragraph IV.D Post-Class Applicants) who receive
16                relief under Paragraphs IV.A, IV.C, or IV.D shall not be required to take
17                steps to consolidate any Relevant Loan Debt into a Direct Loan to receive
18                the relief to which they are entitled pursuant to those Paragraphs.
19                Defendants shall take all necessary steps to ensure that other loan holders
20                effectuate the required relief.
21    G.   Reporting Requirement.
22         1.     Within 30 calendar days after the Effective Date, Defendants will provide
23                Plaintiffs with, as of the Final Approval Date, (i) the total number of Class
24                Members, (ii) the total number of Class Members the Department has
25                determined are eligible for Full Settlement Relief pursuant to Paragraph
26                IV.A; (iii) the total number of Class Members who must receive decisions
27                pursuant to Paragraph IV.C; and (iv) the total number of Class Members
28                and Post-Class Applicants who must receive decisions by each deadline set


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 1               forth in Paragraph IV.C.3(i) through (v) and Paragraph IV.D, respectively,
 2               and a schedule of the dates certain by which such decisions must be received
 3               pursuant to these paragraphs.
 4         2.    Defendants will submit quarterly reports to Plaintiffs documenting their
 5               progress toward fulfilling their obligations under Paragraphs IV.A, IV.C,
 6               and IV.D of this Agreement. Defendants will submit these reports to
 7               Plaintiffs’ Counsel via electronic mail and will post those reports publicly
 8               on their Federal Student Aid website.
 9         3.    The first quarterly report shall be submitted 120 calendar days after the
10               Effective Date, unless that day falls on a weekend or Federal holiday, in
11               which case the report shall be submitted on the next business day. The
12               quarterly reports shall be submitted every 90 calendar days thereafter,
13               subject to the same exceptions where the 90th day falls on a weekend or
14               Federal holiday.
15         4.    The quarterly reports described herein shall contain the information listed
16               below. The first report will reflect progress Defendants have made since the
17               Effective Date and later reports will reflect the progress Defendants made
18               from the last date reported in the prior report to the end of each reporting
19               period. The first reporting period will start on the Effective Date. Each
20               subsequent reporting period will start on the last date for which progress
21               was reported in any previous report. Each reporting period shall exclude a
22               period not exceeding 30 calendar days immediately preceding the
23               submission of a report, during which Defendants pull, confirm, and validate
24               the data provided in each report.
25                i.    The total number of Class Members with pending borrower defense
26                      applications (which number shall include members of the § 555(e)
27                      Subclass);
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 1                ii.     The total number of settlement relief decisions, revise and resubmit
 2                        notices, and denial decisions, as defined in Paragraph IV.C.2, that
 3                        Defendants have issued to Class Members pursuant to Paragraph
 4                        IV.C;
 5               iii.     The number of Class Members who received settlement relief
 6                        decisions; the number of Class Members who received “revise and
 7                        resubmit notices”; and the number of Class Members who received
 8                        final denial decisions during the reporting period; and
 9               iv.      The total number of Class Members for whom Defendants have
10                        effectuated relief pursuant to Paragraph IV.A, including the number
11                        of Class Members for whom Defendants effectuated relief during
12                        the reporting period.
13                v.      For any quarterly report covering the time period during which a
14                        deadline established in Paragraphs IV.C.3(i) through (v) and
15                        Paragraph IV.D falls, the total number of Class Members for whom
16                        the Department did not provide a decision.
17         5.     All of the data required in this section is subject to privacy restrictions and
18                will be suppressed where the total number of Class Members for any data
19                point is less than 10.
20         6.     Defendants shall notify Plaintiffs’ Counsel within 30 calendar days of the
21                date as of which they have resolved all Class Members’ borrower defense
22                applications, notified all Class Members of their final decisions (where
23                applicable), and effectuated all appropriate relief to Class Members, at
24                which point Defendants’ reporting obligations will cease. Until Defendants
25                provide such notice, Defendants shall continue providing quarterly reports
26                as required by this Paragraph IV.G.
27    H.   Other Assurances. In accordance with applicable statutory and regulatory
28         requirements, and additional governing policies and procedures specific to


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 1              Defendants’ consideration of borrower defense claims, Defendants represent and
 2              confirm that the following policies will apply to all Class Members throughout the
 3              time covered by the Agreement:
 4              1.     Defendants do not take action to collect outstanding student loan debts
 5                     through involuntary collection activity against individuals with pending
 6                     borrower defense applications, as required by the Department’s borrower
 7                     defense regulations. However, this Agreement does not preclude a Class
 8                     Member from proactively and voluntarily paying his or her student loans.
 9              2.     Defendants provide an interest credit for any interest that accrues on the
10                     relevant federal student loan accounts of borrowers between the time that
11                     the borrower submits his or her borrower defense application and the time
12                     the Department issues a final decision on the application and notifies the
13                     borrower of that decision.
14   V.    ENFORCEMENT
15         A.   Notwithstanding all other provisions outside Section V of this Agreement, the
16              Court shall retain jurisdiction only to review claims set forth in this Section V, and
17              only in the manner explicitly provided in Section V. In connection with each such
18              claim, the Court shall retain jurisdiction only to order the relief explicitly specified
19              for each particular claim and only where Defendants have not provided that relief
20              pursuant to the procedures specified in this Section. The Court shall lack
21              jurisdiction to imply any claims, or authority to issue any other relief, under this
22              Agreement.
23         B.   The only claims permissible to enforce this Agreement are as follows:
24              1.     Failure to Provide Relief to Class Members Who Did Not Receive a
25                     Decision by the Decision Due Date. Plaintiffs may bring a claim alleging
26                     that Defendants have materially breached the Agreement if Defendants
27                     have (i) failed to issue to a Class Member or Post-Class Applicant by the
28                     due date established in Paragraph IV.C.3, IV.C.4, or IV.D.2, as applicable,


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 1                a decision, as defined by Paragraph IV.C.2; and (ii) subsequently failed,
 2                within 30 calendar days following the expiration of the applicable deadline,
 3                to provide that Class Member with notice that they will receive Full
 4                Settlement Relief, as required by Paragraph IV.C.8 or IV.D.2, as applicable.
 5                    i.   Should Plaintiffs prevail on this claim, the only relief available from
 6                         the Court shall be an order requiring Defendants to promptly provide
 7                         Full Settlement Relief to each affected Class Member on a timetable
 8                         set by the Court. Defendants shall also be liable for Plaintiffs’
 9                         reasonable attorneys’ fees and costs incurred in bringing the claim.
10              ii.        In the event of such a Court order, Defendants will report to
11                         Plaintiffs’ Counsel and the Court on its progress of issuing relief,
12                         as provided herein, to affected Class Members.
13         2.     Failure to Issue Relief by Relief Due Date. Plaintiffs may bring a claim
14                alleging that Defendants have materially breached Paragraph IV.A.1,
15                IV.C.9, IV.D.1, and/or IV.D.3 of the Agreement by failing to effectuate
16                relief within the prescribed time periods for any individual who is entitled
17                to receive relief pursuant those Paragraphs.
18               i.        Should Plaintiffs prevail on this claim, the only relief available from
19                         the Court shall be an order requiring Defendants to promptly provide
20                         Full Settlement Relief to each affected individual on a schedule set
21                         by the Court. Defendants shall also be liable for Plaintiffs’
22                         reasonable attorneys’ fees and costs incurred in bringing the claim.
23              ii.        In the event of such a Court order, Defendants will report to
24                         Plaintiffs’ Counsel and the Court on its progress of issuing relief, as
25                         provided herein, to affected Class Members.
26         3.     Failure to Submit Timely Quarterly Reports. Plaintiffs may bring a claim
27                alleging that Defendants have materially breached Paragraph IV.G of the
28                Agreement by failing to submit a timely and complete quarterly report to


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 1               Plaintiffs’ Counsel via electronic mail within 90 calendar days after the
 2               deadline for the report according to the timelines specified therein. Should
 3               Plaintiffs prevail on this claim, the only relief available from the Court shall
 4               be an order requiring Defendants to submit their reports on a monthly basis
 5               from the point of the order forward. Defendants shall also be liable for
 6               Plaintiffs’ reasonable attorneys’ fees and costs incurred in bringing the
 7               claim.
 8         4.    Involuntary Collections of Class Members’ Student Loan Debt. Plaintiffs
 9               may bring a claim alleging that Defendants have materially breached
10               Paragraph IV.H.1 of the Agreement by collecting on a Relevant Loan after
11               the Effective Date through involuntary collection activity against a Class
12               Member or Post-Class Applicant while his or her application was or is
13               pending or while the Class Member or Post-Class Applicant was or is
14               awaiting the effectuation of relief.
15                i.      Should Plaintiffs prevail on this claim, the only relief available from
16                        the Court shall be an order requiring the Department to refund the
17                        payment(s) collected. If Defendants do not have a valid address for
18                        the affected borrowers to send the refunds, Defendants will
19                        take reasonable steps to engage in skip tracing to find a valid
20                        address.
21               ii.      Defendants shall be liable for a material breach under this Paragraph
22                        V.B.4 if involuntary collection activity occurs because they, their
23                        agents, or their contractors took action to collect a debt through an
24                        involuntary collection activity. Defendants shall not be liable based
25                        on events outside of Defendants’ control, including but not limited
26                        to a situation where a third party, such as an employer, undertakes
27                        debt collection activities, such as wage garnishment, inconsistent
28                        with Defendants’ instructions that collection activity cease.


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 1    C.   All claims listed above are subject to the complete defense of impracticability or
 2         impossibility of performance, as set forth below in Paragraph V.D.5 and Paragraph
 3         XII, as well as the defense that the breach claimed by Plaintiffs is not material.
 4    D.   The exclusive procedure for bringing a claim to enforce the terms and conditions
 5         of this Agreement shall be as follows:
 6         1.     Prior to asserting any claim pursuant to Paragraph V.B, above, Plaintiffs’
 7                Counsel shall submit written notice alleging a material breach of this
 8                Agreement to counsel for Defendants. Such notice shall be submitted by
 9                electronic mail, and shall specify what alleged breach has occurred; describe
10                the facts and circumstances supporting the claim; and state that Plaintiffs
11                intend to seek an order from the Court pursuant to Paragraph V.B. Plaintiffs
12                shall not inform the Court of their allegation(s) at that time.
13         2.     Within 2 business days of receipt of the notice from Plaintiffs’ Counsel,
14                Defendants will acknowledge receipt of Plaintiffs’ notice.
15         3.     Defendants shall have a period of 14 calendar days after receipt of such
16                notice from Plaintiffs’ Counsel to inform Plaintiffs’ Counsel in writing of
17                its determination on whether a material breach has occurred, including
18                relevant information that informed Defendants’ determination.
19               i.       If Defendants agree that a material breach has occurred, Defendants
20                        will disclose any action they propose to take to resolve the alleged
21                        material breach in the written notice to Plaintiffs as described by this
22                        Paragraph V.D.3. The Parties will meet and confer to determine
23                        whether those actions are sufficient within 5 business days of
24                        Plaintiffs’ receipt of Defendants’ notice.
25                            a. Upon Defendants’ request, Plaintiffs shall provide to
26                                Defendants any information and materials available to
27                                Plaintiffs that support the violation alleged in the notice.
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 1                           b. Defendants will have 21 calendar days following the Parties’
 2                               meet and confer to take the action(s) specified in their
 3                               written notice and/or any further action(s) agreed upon in
 4                               writing by the Parties.
 5                           c. If the Parties agree about the existence of a material breach,
 6                               but cannot reach consensus on the appropriate action to
 7                               resolve that breach within 21 calendar days following the
 8                               Parties’ meet and confer, either Party may file a motion for
 9                               enforcement of the Agreement.
10              ii.      If Defendants do not agree that a material breach has occurred, the
11                       Parties will meet and confer to determine if a consensus can be
12                       reached within 5 business days after Plaintiffs’ receipt of
13                       Defendants’ notice as described in this Paragraph V.D.3. If a
14                       consensus cannot be reached within 21 business days following the
15                       Parties’ meet and confer, Plaintiffs may file a motion for
16                       enforcement of the Agreement.
17         4.     Absent the prior, written agreement of the Parties, any motion for
18                enforcement of the Agreement must be brought within two (2) years after
19                the Parties notify the Court that Defendants have resolved all Class
20                Members’ borrower defense applications, notified all Class Members of
21                their final decisions (where applicable), and effectuated all appropriate
22                relief to Class Members, as specified in Paragraph XI, below. Otherwise,
23                any claim of material breach not brought within two (2) years of such date
24                shall be forever waived by Plaintiffs.
25         5.     If Defendants are reasonably prevented from or delayed in fully performing
26                any of the obligations set forth in Paragraph IV, above, due to extraordinary
27                circumstances beyond Defendants’ control, Defendants will notify
28                Plaintiffs’ Counsel within 14 calendar days of Defendants’ determination


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 1                that they will not be able to fully perform their obligations. Within that
 2                notification, Defendants will describe the facts providing their basis for
 3                believing extraordinary circumstances beyond Defendants’ control prevent
 4                Defendants from fully performing their obligations. Within 14 calendar
 5                days of that notice, the Parties will meet and confer as to whether the
 6                circumstances are beyond the Defendants’ control and to what extent they
 7                affect Defendants’ ability to issue final decisions or effectuate relief. If the
 8                Parties agree an extension is warranted, the Parties will negotiate the length
 9                of an appropriate extension, and the deadlines set forth for Defendants’
10                performance in Paragraph IV may be altered accordingly. If the Parties
11                cannot agree as to whether extraordinary circumstances exist or what the
12                appropriate length of an extension is, Plaintiffs may raise a claim of material
13                breach of Paragraph IV with the Court prior to the expiration of the
14                timelines provided in that Paragraph. Defendants shall be permitted to
15                oppose the filing of such a claim upon the grounds of extraordinary
16                circumstances, and the Court will at that point have jurisdiction to determine
17                whether Defendants are entitled to any extension of the deadlines set forth
18                in Paragraph IV on the basis of extraordinary circumstances. The extension
19                set forth in this Paragraph V.D.5 shall be for a minimum of seven (7)
20                calendar days beyond the deadlines for performance set forth in Paragraph
21                IV without requiring any action by any Party other than Defendants, and
22                may be longer than that period pursuant to written agreement among the
23                Parties.
24    E.   The Court relinquishes jurisdiction over all claims, causes of actions, motions,
25         suits, allegations, and other requests for relief in this Action that are not expressly
26         stated in this Paragraph V.
27
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 1           F.     The Court shall have no jurisdiction to supervise, monitor, or issue orders in this
 2                  Action, except to the extent that Plaintiffs invoke the Court’s jurisdiction pursuant
 3                  to the procedures set forth in this Paragraph V.
 4   VI.     ATTORNEYS’ FEES
 5           A.     To resolve Plaintiffs’ claim for attorneys’ fees, costs, and expenses, Plaintiffs will
 6                  submit a petition for fees under the Equal Access to Justice Act, 28 U.S.C. §
 7                  2412(d), to the Court.
 8           B.     Defendants agree that Plaintiffs are the prevailing party in this action for purposes
 9                  of a fee petition under the Equal Access to Justice Act.
10           C.     Nothing in this Section shall affect the Parties’ ability to attempt to reach a
11                  compromise regarding Plaintiffs’ claim for attorneys’ fees, costs, and expenses.
12   VII.    WAIVER AND RELEASE
13           Plaintiffs, the Class Members, and their heirs, administrators, representatives, attorneys,
14   successors, and assigns, and each of them hereby forever waive, release, and forever discharge
15   Defendants, and all of their officers, employees, and agents, from, and are hereby forever barred
16   and precluded from prosecuting, any and all claims, causes of action, motions, and requests for
17   any injunctive, declaratory, and/or monetary relief, including but not limited to damages, tax
18   payments, debt relief, costs, attorney’s fees, expenses, and/or interest, whether presently known or
19   unknown, contingent or liquidated, alleged in this Action against Defendants through and
20   including the Effective Date, including but not limited to the right to appeal any and all claims
21   Plaintiffs asserted in this Action. This Agreement is not intended to release any claim based on an
22   act or omission or other conduct occurring after the Effective Date, including but not limited to
23   claims by Class Members based on the substance or content of their borrower defense decisions.
24   The Parties do not intend to waive or narrow any res judicata defense Defendants could assert
25   against a future claim brought by any Plaintiff.
26   VIII. NO ADMISSION OF LIABILITY
27           A.     Nothing in this Settlement Agreement shall constitute or be construed to constitute
28                  an admission of any wrongdoing or liability by Defendants, an admission by


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 1                Defendants of the truth of any allegation or the validity of any claim asserted in this
 2                Action, a concession or admission by Defendants of any fault or omission of any
 3                act or failure to act, or an admission by Defendants that the consideration provided
 4                to Plaintiffs under Paragraph IV, above, represents relief that could be recovered
 5                by Plaintiffs in this Action.
 6          B.    Plaintiffs may not offer, proffer, or refer to any of the terms of this Agreement as
 7                evidence in any civil, criminal, or administrative proceedings other than
 8                proceedings that may be necessary to enforce the Agreement as set forth in
 9                Paragraph V, above, or to obtain approval from the Court as set forth in Paragraph
10                X, below.
11   IX.    PLAINTIFFS’ COVENANTS NOT TO SUE
12          A.    Plaintiffs hereby covenant not to commence any action, claim, suit, or
13                administrative proceeding against Defendants related to the non-performance,
14                failed performance, or otherwise unsatisfactory performance in fulfilling their
15                duties and responsibilities under this Agreement; provided, however, that Plaintiffs
16                may initiate an action against Defendants pursuant to the continuing jurisdiction of
17                the Court to compel Defendants’ performance of their obligations under this
18                Agreement, but only as expressly articulated in this Agreement in Paragraph V,
19                above.
20          B.    Plaintiffs hereby covenant not to commence against Defendants any action, claim,
21                suit, or administrative proceeding on account of any claim or cause of action that
22                has been released or discharged by this Agreement.
23   X.     PROCEDURES GOVERNING APPROVAL OF THIS AGREEMENT
24          A.    Within 14 calendar days of the Execution Date, the Parties shall jointly submit this
25                Agreement and its exhibits to the Court, and shall apply for entry of an Order in
26                which the Court:
27                1.       Grants preliminary approval to this Agreement as being fair, reasonable,
28                         and adequate to Plaintiffs;


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 1         2.     Approves the form of the Class Notice attached hereto as Exhibit A;
 2         3.     Directs the Parties to provide Class Notice as set forth in Paragraph X.B
 3                below, and grants approval of such plan as reasonable under Federal Rule
 4                of Civil Procedure 23(e)(1);
 5         4.     Schedules a Fairness Hearing to determine whether this Agreement should
 6                be approved as fair, reasonable, and adequate, and whether an order
 7                approving the settlement should be entered pursuant to Federal Rule of Civil
 8                Procedure 23(e);
 9         5.     Provides that any person who wishes to object to the terms of this
10                Agreement, or to the entry of an Order approving this Agreement, must file
11                a written Notice of Objection with the Court specifying the objections and
12                the basis for such objections as provided in the Class Notice, with copies
13                served on all Parties’ counsel;
14         6.     Provides that between the Execution Date and the Fairness Hearing, the
15                Defendants shall direct all inquiries from Class Members and Post-Class
16                Applicants regarding the Agreement to Plaintiffs’ Counsel;
17         7.     Provides that in order to have an objection considered and heard at the
18                Fairness Hearing, such written Notice of Objection must be filed with the
19                Court and served on counsel by the date specified in the Class Notice;
20         8.     Provides that the Parties shall each be entitled, but not required, to respond,
21                in writing, to any Objections up to 14 calendar days prior to the Fairness
22                Hearing; and
23         9.     Provides that the Fairness Hearing may, from time to time and without
24                further notice to the Class, be continued or adjourned by order of the Court.
25    B.   After the Court enters an Order containing all of the items set forth in Paragraph
26         X.A, above, the Parties shall promptly distribute the Class Notice as follows:
27         1.     Defendants shall email all Class Members who provided their e-mail
28                addresses to the Department on their borrower defense applications, or,


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 1                          where Defendants do not have such an e-mail address available or become
 2                          aware that email is undeliverable to the email address on file, Defendants
 3                          shall send a copy of the notice to the Class Member’s last known mailing
 4                          address by first class mail.
 5                  2.      Class Counsel will update the Class Member website’s “Frequently Asked
 6                          Questions” page regarding the lawsuit. A link to the Class Members’
 7                          website will be included in the Class Notice and will be included on the
 8                          Department’s website.
 9                  3.      Plaintiffs will also circulate the Class Notice to legal aid and advocacy
10                          organizations across the country providing borrower defense assistance.
11          C.      No later than 3 business days before the Fairness Hearing, the Parties shall each file
12                  with the Court a declaration confirming compliance with the Notice procedures
13                  approved by the Court.
14          D.      At the Fairness Hearing, the Parties shall jointly request the Court’s final approval
15                  of this Agreement, pursuant to Federal Rule of Civil Procedure 23(e). The Parties
16                  agree to take all actions necessary to obtain approval of this Agreement.
17          E.      If, after the Fairness Hearing, the Court approves this Agreement as fair, adequate,
18                  and reasonable, the Parties consent to entry of Final Judgment in a form
19                  substantively identical to the Final Judgment attached hereto as Exhibit B.
20          F.      Within 120 days after the Effective Date, Defendants shall send Written Notice to
21                  all Post-Class Applicants informing them of their status as Post-Class Applicants
22                  and the provisions of the Agreement that apply to them.
23   XI.    DISMISSAL AND JURISDICTION OF THE COURT TO ENFORCE THIS AGREEMENT
24          The Parties hereby stipulate and agree to entry of Final Judgment in a form substantively
25   identical to the Final Judgment attached hereto as Exhibit B. As provided in that exhibit, Plaintiffs’
26   claims in this Action are dismissed with prejudice, except that the Court shall retain limited
27   jurisdiction for the sole purpose of enforcing the terms of this Agreement as expressly set forth in
28   Paragraph V of this Agreement. Once Defendants have resolved all Class Members’ and Post-


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 1   Class Applicants’ borrower defense applications, notified all Class Members and Post-Class
 2   Applicants of their final decisions (where applicable), and effectuated all appropriate relief to Class
 3   Members and Post-Class Applicants, the Parties will file a notice with the Court. Upon the date of
 4   that notice, the Court’s jurisdiction over this Action shall completely terminate.
 5           The Parties agree that any order of the Court granting approval of this Agreement does not
 6   render the terms and conditions of this Agreement subject to the contempt powers of the Court.
 7   XII.    IMPOSSIBILITY OF PERFORMANCE
 8           In addition to the excuses to performance listed in Paragraph V.D.5, above, if Congress
 9   renders Defendants’ performance under this Agreement impossible, in whole or in part, then
10   Defendants shall forever be relieved of all obligations that would, as a result of such Congressional
11   action, be impossible to perform. Defendants shall not be required to take any action, or attempt
12   to take any action, which would circumvent or violate, or have the effect of circumventing or
13   violating, the law.
14   XIII. CONDITIONS THAT RENDER THIS AGREEMENT VOID OR VOIDABLE
15           A.     This Agreement shall be void if it is not approved as written by a final Court order
16                  not subject to any further review.
17           B.     This Agreement shall be voidable by Plaintiffs and/or Defendants if the Court does
18                  not enter a Final Judgment, or other Final Approval Order, that is substantively
19                  identical to the one attached hereto as Exhibit B. Any Party’s decision to void the
20                  Agreement under this provision is effective only if that Party provides notice of its
21                  decision, in writing, to the counsel of record for all other Parties within 30 calendar
22                  days of the date on which the Court entered Final Judgment.
23           C.     This Agreement shall be voidable by Plaintiffs if a condition of impossibility
24                  occurs, as described in Paragraph XII. Plaintiffs’ decision to void the Agreement
25                  under this provision is effective only if Plaintiffs’ Counsel provides notice of their
26                  decision, in writing, to the counsel of record for Defendants.
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 1   XIV. EFFECT OF AGREEMENT IF VOIDED
 2          A.   Should this Agreement become void as set forth in Section XIII above, none of the
 3               Parties will object to reinstatement of this Action in the same posture and form as
 4               it was pending immediately before the Execution Date.
 5          B.   All negotiations in connection herewith, and all statements made by the Parties at
 6               or submitted to the Court as part of the Fairness Hearing process, shall be without
 7               prejudice to the Parties to this Agreement and shall not be deemed or construed to
 8               be an admission by a Party of any fact, matter, or proposition, nor admissible for
 9               any purpose in the Action other than with respect to the settlement of same.
10          C.   The Parties shall retain all defenses, arguments, and motions as to all claims that
11               have been or might later be asserted in this Action, and nothing in this Agreement
12               shall be raised or construed by any Party to defeat or limit any claims, defenses,
13               arguments, or motions asserted by either Party.
14   XV.    MODIFICATION OF THIS AGREEMENT
15          A.   Before the Preliminary Approval Date, this Agreement, including the attached
16               exhibits, may be modified only upon the written agreement of the Parties.
17          B.   After the Preliminary Approval Date—including the time after which Final
18               Judgment has been entered—this Agreement, including the attached exhibits, may
19               be modified only with the written agreement of all the Parties and with the approval
20               of the Court, upon such notice to the Class, if any, as the Court may require.
21   XVI. RULES OF CONSTRUCTION
22          A.   The Parties acknowledge that this Agreement constitutes a negotiated compromise.
23               The Parties agree that any rule of construction under which any terms or latent
24               ambiguities are construed against the drafter of a legal document shall not apply to
25               this Agreement.
26          B.   This Agreement shall be construed in a manner to ensure its consistency with
27               federal law. Nothing contained in this Agreement shall impose upon Defendants
28               any duty, obligation, or requirement, the performance of which would be


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                      inconsistent with federal statutes, rules, or regulations in effect at the time of such
 2                    performance.
 3            c.     The headings in this Agreement are for the convenience of the Parties only and
 4                   shall not limit, expand, modify, or aid in the interpretation or construction of this
 5                   Agreement.
 6   XVII.    INTEGRATION
 7            This Agreement and its exhibits constitute the entire agreement of the Parties, and no prior
 8   statement, representation, agreement, or understanding, oral or written, that is not contained herein,
 9   will have any force or effect.
10   XVIII.   EXECUTION

              This Agreement may be executed in counterparts. Facsimiles and Adobe PDF versions of
12   signatures shall constitute acceptable, binding signatures for purposes of this Agreement.
13

14    For the Defendants:                                 For the Plaintiffs:
15

16
      BRIAN D. NETTER                                     EILEE       . CONNOR (SBN 248856)
17
      Deputy Assistant Attorney General                  econnor@law.harvard.edu
18   STEPHANIE HINDS                                     REBECCA C. ELLIS (pro hac vice)
     United States Attorney                              rellis@law.harvard.edu
19   MARCIA BERMAN                                       LEGAL SERVICES CENTER OF
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23                                                       JOSEPH JARAMILLO (SBN 178566)
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24   Telephone: (202) 616-8098                           jjaramillo@heraca.org
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25                                                       ADVOCATES
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26                                                       Oakland, California 9461 1
27                                                       Tel.: (510) 271-8443
                                                         Fax: (510) 868-4521
28


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                                                 DRAFT

Internal Name: BD Sweet v. Cardona – General Notification
Internal Number: 01
Subject if sent electronically: Notice of Proposed Class Action Settlement - Important borrower
defense information for you


[DATE]

Borrower Defense Application #: [Case Number]

Dear [Primary Contact Name]:

Your rights may be affected, please read carefully.

You filed a borrower defense application asking the U.S. Department of Education (“Department”) to
cancel some or all of your federal student loan debt because you allege the school you (or your child)
attended engaged in unlawful conduct. We write to inform you that there is a proposed settlement in a
class action lawsuit that could affect your claim and to explain how your legal rights may be affected by
that lawsuit.

As a borrower defense applicant, you may have been previously informed of a class action lawsuit called
Sweet v. DeVos, which challenged the Department’s delay in issuing final decisions on borrower defense
applications, including yours. You may also have been informed in 2020 that the parties had proposed a
settlement of the lawsuit, subject to the court’s approval. The court did not approve that proposed
settlement, so the lawsuit continued. You can find more information about that here:
https://predatorystudentlending.org/news/press-releases/in-new-ruling-judge-denies-borrower-defense-
settlement-over-department-of-educations-perfunctory-alarmingly-curt-denials-press-release/. The lawsuit
now also challenges the Department’s denial of certain borrower defense applications.

We now write to inform you that there is a new proposed settlement of the lawsuit. The settlement will
not become final until it is approved by the court as fair, adequate, and reasonable. This Notice describes
how your legal rights may be affected by this settlement.

What is the case about?

A lawsuit was filed in a federal court in California by seven borrower defense applicants who represent,
with certain exceptions, all borrowers with pending borrower defense applications. The lawsuit challenges
the way the Department has been dealing with borrower defense applications over the past few years,
including the Department’s delays in issuing final decisions and the Department’s denial of certain
applications starting in December 2019. The case is now called Sweet v. Cardona, No. 3:19-cv-3674
(N.D. Cal.).

Now, both parties are proposing to settle this lawsuit. This proposed settlement is a compromise of
disputed claims, and Defendants continue to deny that they have acted unlawfully.
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What are the terms of the proposed settlement for borrowers who applied for borrower defense
relief on or before June 22, 2022?

In the proposed settlement, the Department agrees to resolve the borrower defense applications of people
who have borrower defense applications pending as of June 22, 2022 on the following terms:

    -    If your borrower defense application related to federal student loans borrowed to pay for
         attendance at a school on the list attached to this letter, you will receive a discharge of federal
         loans associated with that school and a refund of any amounts paid to the Department on those
         federal loans, and the credit tradeline for those loans will be deleted from your credit report.
         Within 90 days of the date that the court’s approval of the settlement agreement becomes final,
         the Department will notify you that you will receive this relief. You will receive the relief within
         one year of the final effective date of the settlement agreement. Until this relief is provided, the
         Department will not take action to collect your debt.

    -    If your loans are not associated with a school on the list attached to this letter, you will receive a
         decision on your application according to the following schedule:

             o   If you submitted your application between January 1, 2015 and December 31, 2017, the
                 Department will issue a decision no later than 6 months after the court’s approval of the
                 settlement agreement becomes final.

             o   If you submitted your application between January 1, 2018 and December 31, 2018, the
                 Department will issue a decision no later than 12 months after the court’s approval of the
                 settlement agreement becomes final.

             o   If you submitted your application between January 1, 2019 and December 31, 2019, the
                 Department will issue a decision no later than 18 months after the court’s approval of the
                 settlement agreement becomes final.

             o   If you submitted your application between January 1, 2020 and December 31, 2020, the
                 Department will issue a decision no later than 24 months after the court’s approval of the
                 settlement agreement becomes final.

             o   If you submitted your application between January 1, 2021 and June 22, 2022, the
                 Department will issue a decision no later than 30 months after the court’s approval of the
                 settlement agreement becomes final.

    -    If you do not receive a decision within the timeline outlined above, you will receive a discharge
         of federal loans associated with your borrower defense applications and a refund of any amounts
         paid to the Department on those federal loans, and the credit tradeline for those loans will be
         deleted from your credit report.

    -    The Department will decide your application in a streamlined review process that will determine
         whether the application states a claim that, if presumed to be true, would assert a valid basis for
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        borrower defense; will not require further supporting evidence; will not require proof of reliance;
        and will not apply any statute of limitations to your application.

   -    If your application is approved under the procedures above, you will receive a discharge of
        federal loans associated with your borrower defense application and a refund of any amounts paid
        to the Department on those federal loans, and the credit tradeline for those loans will be deleted
        from your credit report.

   -    The Department will not deny your application without first providing instructions on what is
        required for a successful application and giving you the opportunity to resubmit your application.

            o   If you choose to resubmit your application, you must do so within 6 months after
                receiving those instructions. The instructions will explain that if you do not resubmit
                within the 6-month period, your application will be considered denied.

            o   If you choose to resubmit your application within the 6-month time period after receiving
                the instructions, the Department will issue you a final decision no later than 6 months
                after receiving your resubmitted application.

   -    If you received a notice from the Department in December 2019 or later informing you that your
        borrower defense application was denied, that denial has been voided and the Department is
        reviewing your application pursuant to the terms described above.

What are the terms of the proposed settlement for borrowers who applied for borrower defense
relief after June 22, 2022 but before final approval of the settlement?

   -    If you submitted your application after June 22, 2022, but before the court approves the
        settlement agreement, the Department will issue a decision on your application no later than 36
        months after the court’s approval of the settlement agreement becomes final. If the Department
        does not issue a decision within that time period, you will receive a discharge of federal loans
        associated with your borrower defense application and a refund of any amounts paid to the
        Department on those federal loans, and the credit tradeline for those loans will be deleted from
        your credit report.

Does the Department have any reporting obligations?

   -    The Department will provide your lawyers with information about its progress making borrower
        defense decisions every three months, including how many decisions the Department has made
        and how many borrowers have received a loan discharge.

What if my loan is in default?

   -    If you are in default, the Department will not take action to collect your debt, such as by
        garnishing your wages (that is, taking part of your paycheck) or taking portions of your tax
        refund, while your application is pending or while you are waiting to receive any relief you are
        owed under the settlement.
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What happens next?

The court will need to approve the proposed settlement before it becomes final. The court will hold a
public hearing, called a fairness hearing, to decide if the proposed settlement is fair. The hearing will be
held on _______, 2022, beginning at _________, at the following address:

        United States District Court
        Northern District of California
        450 Golden Gate Avenue, Courtroom 12, 19th Floor
        San Francisco, California 94102

Information about the hearing, including the process for participation and virtual attendance (if any), will
be posted at https://predatorystudentlending.org/cases/sweet-v-devos/.

What should I do in response to this Notice?

IF YOU AGREE with the proposed settlement, you do not have to do anything. You have the right to
attend the fairness hearing, at the time and place above, but you are not required to do so.

IF YOU DISAGREE WITH OR HAVE COMMENTS on the proposed settlement, you can write to the
court or ask to speak at the hearing. You must do this by writing to the Clerk of the Court, at the
following mailing address:

        Clerk of the Court
        United States District Court
        Northern District of California
        450 Golden Gate Avenue
        San Francisco, California 94102

You can also submit comments by email to the Clerk of Court at [email address]. Your written comments
or request to speak at the fairness hearing must be postmarked or date-stamped by ____, 2022. The Clerk
will provide copies of the written comments to the lawyers who brought the lawsuit.

Where can I get more information?

There is more information about the Sweet lawsuit on Class Counsel’s website at
https://predatorystudentlending.org/cases/sweet-v-devos/. Check this site periodically for updated
information about the lawsuit.

A copy of the proposed settlement is available online at https://predatorystudentlending.org/cases/sweet-
v-devos/documents/.

If you have questions about this lawsuit or about the proposed settlement, please visit this Frequently
Asked Questions page, https://predatorystudentlending.org/sweet-v-devos-class-members/, which also has
contact information for the lawyers who brought the lawsuit.

Sincerely,

U.S. Department of Education

Federal Student Aid
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                        Exhibit B
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 1                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
 2
 3
      THERESA SWEET, et al.,
 4                                                           No. 3:19-cv-03674-WHA
                           Plaintiffs,
 5
               v.                                            ORDER APPROVING SETTLEMENT
 6
                                                             AGREEMENT AND ENTERING FINAL
 7    MIGUEL CARDONA, in his official capacity               JUDGMENT
      as Secretary of Education, and the UNITED
 8    STATES DEPARTMENT OF EDUCATION                         Hon. William Alsup
 9                         Defendants.
10
11
              Following this Court’s Order preliminarily approving the proposed Settlement Agreement
12
     (“Agreement”), Plaintiffs and Defendants (“the Parties”) disseminated a Notice of Proposed
13
     Settlement and Fairness Hearing to the Plaintiff Class.             After consideration of the written
14
     submissions of the Parties, the Agreement between the Parties, any objections to the Agreement,
15
     all filings in support of the Agreement, and the presentations at the hearing held by the Court to
16
     consider the fairness of the Agreement, the Court hereby Orders, Finds, Adjudges, and Decrees
17
     that:
18
              1.       The Agreement between the Parties is finally approved as fair, reasonable, and
19
     adequate. The Court hereby incorporates the terms of the Agreement, executed by the Parties on
20
     June 22, 2022, into this Judgment Order.
21
              2.     Except as provided in paragraph 3 of this Order, this action is hereby dismissed
22
     with prejudice.
23
              3.     The Court shall retain jurisdiction over this action solely to enforce the terms of the
24
     Agreement, but only such jurisdiction as expressly set forth in Section V of the Agreement.
25
              4.       Once Defendants have decided all Class Members’ borrower defense claims,
26
     notified all Class Members of their final decisions (where applicable), and effectuated all
27
28



                                Order Approving Settlement and Entering Final Judgment
                                                  3:19-cv-03674-WHA
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 1   appropriate relief to Class Members, the Parties will file a notice with the Court. Upon the date of
 2   that notice, the Court’s jurisdiction over this action shall completely terminate.
 3
 4            IT IS SO ORDERED.
 5
 6   Dated:
 7
 8
 9
10                                                  __________________________________
                                                    The Honorable William Alsup
11                                                  United States District Judge
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                              Order Approving Settlement and Entering Final Judgment
                                                3:19-cv-03674-WHA
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                        Exhibit C
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                               Sweet v. Cardona Settlement Agreement Exhibit C




School Owner(s)                               School/Brand Name
Alta Colleges, Inc. (Westwood)                Westwood College
American Commercial Colleges, Inc.            American Commercial College
American National University                  American National University
Ana Maria Piña Houde and Marc Houde           Anamarc College
Anthem Education Group; International         Anthem College
Education Corporation                         Anthem Institute
                                              University of Phoenix
Apollo Group
                                              Western International University
                                              ATI Career Training Center
                                              ATI College
ATI Enterprises
                                              ATI College of Health
                                              ATI Technical Training Center
B&H Education, Inc.                           Marinello School of Beauty
Berkeley College (NY)                         Berkeley College
                                              Ashford University
Bridgepoint Education
                                              University of the Rockies
Capella Education Company; Strategic
                                              Capella University
Education, Inc.
                                              American InterContinental University
                                              Briarcliffe College
                                              Brooks College
                                              Brooks Institute
                                              Collins College
                                              Colorado Technical University
                                              Gibbs College
                                              Harrington College of Design
                                              International Academy of Design and Technology
                                              Katharine Gibbs School
                                              Le Cordon Bleu
                                              Le Cordon Bleu College of Culinary Arts
                                              Le Cordon Bleu Institute of Culinary Arts
                                              Lehigh Valley College
                                              McIntosh College
                                              Missouri College of Cosmetology North
                                              Pittsburgh Career Institute
                                              Sanford‐Brown College
Career Education Corporation                  Sanford‐Brown Institute
                                              Brown College
                                              Brown Institute
                                              Washington Business School
                                              Allentown Business School
                                              Western School of Health and Business Careers
                                              Ultrasound Diagnostic Schools
                                              School of Computer Technology
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                                  Sweet v. Cardona Settlement Agreement Exhibit C


School Owner(s)                                  School/Brand Name
                                                 Al Collins Graphic Design School
                                                 Orlando Culinary Academy
                                                 Southern California School of Culinary Arts
                                                 California Culinary Academy
                                                 California School of Culinary Arts
                                                 Pennsylvania Culinary Institute
                                                 Cooking and Hospitality Institute of Chicago
                                                 Scottsdale Culinary Institute
                                                 Texas Culinary Academy
                                                 Kitchen Academy
                                                 Western Culinary Institute
Center for Employment Training                   Center for Employment Training
                                                 California College San Diego
Center for Excellence in Higher Education        CollegeAmerica
(CEHE)                                           Independence University
                                                 Stevens‐Henager
Computer Systems Institute
Court Reporting Institute, Inc.                  Court Reporting Institute
                                                 La' James College of Hairstyling
Cynthia Becher
                                                 La' James International College
                                                 American Career College
David Pyle
                                                 American Career Institute
                                                 McCann School of Business & Technology
                                                 Miami‐Jacobs Career College
                                                 Miller Motte Business College
Delta Career Education Corporation
                                                 Miller‐Motte College
                                                 Miller‐Motte Technical College
                                                 Tucson College
                                                 American University of the Caribbean
                                                 Carrington College
                                                 Chamberlain University
                                                 DeVry College of Technology
DeVry                                            Devry Institute of Technology
                                                 DeVry University
                                                 Keller Graduate School of Management
                                                 Ross University School of Veterinary Medicine
                                                 Ross University School of Medicine
                                                 Argosy University
                                                 The Art Institute
                                                 Brown Mackie College
                                                 Illinois Institute of Art (The)
EDMC/Dream Center
                                                 Miami International University of Art & Design
                                                 New England Institute of Art (The)
                                                 South University
                                                 Western State University College of Law
                                                 All‐State Career School
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                                 Sweet v. Cardona Settlement Agreement Exhibit C


School Owner(s)                                 School/Brand Name
Education Affiliates (JLL Partners)             Fortis College
                                                Fortis Institute
Edudyne Systems Inc.                            Career Point College
Empire Education Group                          Empire Beauty School
                                                Everglades University
Everglades College, Inc.
                                                Keiser University
FastTrain                                       FastTrain
                                                Globe University
Globe Education Network
                                                Minnesota School of Business
                                                Bauder College
                                                Kaplan Career Institute
Graham Holdings Company (Kaplan)                Kaplan College
                                                Mount Washington College
                                                Purdue University Global
Grand Canyon Education, Inc.                    Grand Canyon University
                                                Arizona Summit Law School
Infilaw Holding, LLC                            Charlotte School of Law
                                                Florida Coastal School of Law
                                                Florida Career College
International Education Corporation
                                                United Education Institute
ITT Educational Services Inc.                   ITT Technical Institute
                                                Gwinnett College
JTC Education, Inc.                             Medtech College
                                                Radians College
Laureate Education, Inc.                        Walden University
                                                Florida Technical College
Leeds Equity Partners V, L.P.                   National University College
                                                NUC University
                                                Concorde Career College
Liberty Partners
                                                Concorde Career Institute
                                                International Technical Institute
Lincoln Educational Services Corporation        Lincoln College of Technology
                                                Lincoln Technical Institute
Mark A. Gabis Trust                             Daymar College
                                                Wright Business School
Mission Group Kansas, Inc.
                                                Wright Career College
                                                American College for Medical Careers
                                                Branford Hall Career Institute
                                                Hallmark Institute of Photography
                                                Hallmark University
Premier Education Group L.P.                    Harris School of Business
                                                Institute for Health Education (The)
                                                Micropower Career Institute
                                                Suburban Technical School
                                                Salter College
                                                Beckfield College
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                                Sweet v. Cardona Settlement Agreement Exhibit C


School Owner(s)                                School/Brand Name
Quad Partners LLC                              Blue Cliff College
                                               Dorsey College
Remington University, Inc.; Remington College
                                              Remington College
BCL, Inc.
Southern Technical Holdings, LLC              Southern Technical College
Star Career Academy                           Star Career Academy
Sullivan and Cogliano Training Center, Inc.
                                               Sullivan and Cogliano Training Centers
TCS Education System                           Chicago School of Professional Psychology
                                               Court Reporting Institute of St Louis
Vatterott Educational Centers, Inc.
                                               Vatterott College
                                               Robert Fiance Beauty Schools
                                               Robert Fiance Hair Design Institute
                                               Robert Fiance Institute of Florida
Wilfred American Education Corp.
                                               Wilfred Academy
                                               Wilfred Academy of Beauty Culture
                                               Wilfred Academy of Hair & Beauty Culture
                                               Brightwood Career Institute
                                               Brightwood College
Willis Stein & Partners (ECA)
                                               New England College of Business and Finance
                                               Virginia College
